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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

     DAVID DYKEHOUSE, KRISTINA
     BOSKOVICH, and ELIZABETH
     HAMBLIN, on behalf of themselves                 Case No. 1:18-CV-01225-RJJ-PJG
     and all others similarly situated,
                                                      Hon. Janet T. Neff
                                Plaintiff,
     vs.

     THE 3M COMPANY, a Delaware                       DEFENDANT GEORGIA-
     Corporation, GEORGIA-PACIFIC LLC, a              PACIFIC LLC’S NOTICE OF
     Delaware Corporation,                            NONPARTIES AT FAULT
                           Defendants.


                  Defendant Georgia-Pacific LLC (“Georgia-Pacific”) submits this Notice of

Nonparties at Fault pursuant to Michigan Court Rule 2.112(K), which provides a mechanism for

notice regarding nonparties believed to be at fault for Plaintiffs’ alleged damages. Notices

pursuant to MCR 2.112(K) are proper in federal court. See e.g., Greenwich Insurance Co. v.

Hogan, 351 F. Supp. 2d 736, 739-40 (W.D. Mich. 2004) (MCR 2.112(K) is an integral part of

Michigan statutory scheme of “fair share liability” and is therefore applicable in federal court

actions).

           Georgia-Pacific hereby gives notice pursuant to MCR 2.112(K) that the following parties

are wholly or partially at fault for the damage alleged by Plaintiffs in their Complaint in this action:

1.         Hydro Aluminum North America (a/k/a SAPA, Wells Aluminum Corp.). This
           company has conducted manufacturing operations for decades in an area upgradient of the
           City of Parchment water supply wells. It had a history of discharges and releases during
           decades of operation at that location including the disposal of waste water directly into
           unlined, onsite lagoons. Sludge from the lagoons was disposed onsite.

           Hydro Aluminum North America
           5575 N. Riverview Drive
           Kalamazoo, MI 49004
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2.   Hercules Incorporated. Hercules produced pulp and paper chemicals used in finished
     paper for decades at a location in Parchment that may have contributed to PFAS
     contamination in the Parchment municipal supply wells.

     Hercules Incorporated
     411 Hercules Avenue
     Parchment, MI 49004

3.   Absolutaire, Inc (f/k/a Duo-Aire, Inc.). Absolutaire has engaged in manufacturing
     operations since approximately 1976. Among other things, it engaged in painting
     operations and has a history of disposal of materials in the adjacent gravel pit, and
     conducted open burning in the gravel pit.

     Absolutaire, Inc.
     5496 North Riverview Drive
     Kalamazoo, MI 49004

4.   Oakes Carton Company. Oakes Carton has been operating a manufacturing paper
     packaging facility in the coated paper related industry for decades. It has a history of
     releases at the Kalamazoo facility.

     Oakes Carton Company
     5575 Collingwood
     Kalamazoo, MI 49004

5.   Spray & Shine Auto Wash. Spray & Shine is an auto wash facility that has a history of
     releases to the ground. Materials used at car washes have been determined to be PFAS
     sources. The Spray & Shine Auto Wash site is located near where elevated concentrations
     of PFAS have been detected in groundwater.

     Spray & Shine Auto Wash
     2441 Brackett Ave.
     Kalamazoo, MI 49004

6.   Crown Vantage Corporation. Crown Vantage was the last owner and operator of the
     Parchment landfill during the last several years of the operation of the landfill. It owned
     and operated the landfill from 1995 until approximately 2000.

     Crown Vantage Corporation
     100 Island Avenue and/or 400 Island Avenue
     Parchment, MI 49004

7.   Michigan Department of Environmental Quality. The MDEQ was obligated pursuant
     to a consent order to conduct maintenance and long-term monitoring of the landfill. The
     MDEQ failed to repair and operate a vandalized lift station needed for leachate collection.



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         Michigan Department of Environmental Quality
         525 W. Allegan Street
         P.O. Box 30473
         Lansing, MI 48909-7973

8.       Cooper Charter Township. For a period of years, Cooper Township has owned the
         former landfill and failed to mitigate the continued leaching and migration of
         contamination from the landfill.

         Cooper Charter Township
         1590 West D Ave. |
         Kalamazoo, MI 49009-6321

9.       River Reach Partners, LLC. For a number of years, River Reach Partners, LLC has
         owned the former Parchment paper mill, and has failed to mitigate the continued leaching
         and migration of contaminants from the former paper mill site.

         River Reach Partners, LLC
         1821 Blake St., Suite 3 C
         Denver, CO 80202

Dated: April 19, 2019                        /s/ Dean F. Pacific
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